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FOR THE wEsTERN DISTRICT OF TENNESSEE nwf/18
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DAVID FERGUSON,
Plaintiff,

vs. Ne. 04-2991vs/v

N. Obi, et al.,

Defendants.

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ORDER TO COMPLY WITH PLRA
ORDER ASSESSING FILING FEE
ORDER OF DISMISSAL
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Plaintiff David Ferguson, prison registration number 12554, an
inmate at the Shelby County Corrections Center (SCCC),l filed this
complaint under 42 U.S.C. § 1983. The Clerk of Court shall record
the defendants as N. Obi, Mr. Soulous, Paula Castillo, and
Correctional Medical Service.

I. Assessment of Filing Fee

Under the Prison Litigation Reform Act of 1995 (PLRA), 28

U.S.C. § 1915(b), all prisoners bringing a civil action must pay the

full filing fee of $150 required by 28 U.S.C. § 1914(a). The in

 

1 The word prison is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

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fp;ma pauperis statute, 28 U.S.C. § l915(a) merely provides the
prisoner the opportunity to make a "downpayment" of a partial filing
fee and pay the remainder in installments.

In this case, plaintiff has not properly completed and
submitted both an ip fp;ma pauperis affidavit and a prison trust

fund account statement showing:

1) the average monthly deposits, and

2) the average monthly balance for the six months prior to
submission of the complaint, and

3) the account balance when the complaint was submitted.

PurSLlaIlt to 28 U.S.C. § lQlS(b)(l}, it is ORDERED that

plaintiff cooperate fully with prison officials in carrying out this
order. It is ORDERED that within thirty (30) days of the entry of
this order plaintiff properly complete and file both an ip fp;ma
pauperis affidavit and a trust fund account statement showing the
above amounts.

lt is further ORDERED that the trust fund officer at
plaintiff's prison shall calculate a partial initial filing fee
equal to twenty percent of the greater of the average balance in or
deposits to the plaintiff's trust fund account for the six months
immediately preceding the completion of the affidavit. When the
account contains any funds, the trust fund officer shall collect
them and pay them directly to the Clerk of Court. If the funds in
plaintiff's account are insufficient to pay the full amount of the

initial partial filing fee, the prison official is instructed to

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withdraw all of the funds in the plaintiff's account and forward
them to the Clerk of Court,

On each occasion that funds are subsequently credited to
plaintiff's account the prison official shall immediately withdraw
those funds and forward thenl to the Clerk; of Court, until the
initial partial filing fee is paid in full. It is further ORDERED
that after the initial partial filing fee is fully paid, the trust
fund officer shall withdraw from the plaintiff's account and pay to
the Clerk of this Court monthly payments equal to twenty percent
(20%) of all deposits credited to plaintiff's account during the
preceding month, but only when the amount in the account exceeds
$l0.00, until the entire $150.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the
Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order, and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff's name and the case number on
the first page of this order.

If plaintiff is transferred to a different prison or released,
he is ORDERED to notify the Court immediately of his change of

address. If still confined he shall provide the officials at the

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new prison with a copy of this order. If the plaintiff fails to
abide by these or any other requirement of this order, the Court may
impose appropriate sanctions, including a monetary fine, without any
additional notice or hearing by the Court.

The Clerk shall mail a copy' of this order to the prison

official in charge of prison trust fund accounts at plaintiff's

prison. The obligation tx) pay' this filing fee shall continue
despite the immediate dismissal of this case. 28 U.S.C. §
1915(e)(2). The Clerk shall not issue process or serve any papers

in this case.
II. Analysis of Plaintiff's Claims

Plaintiff Ferguson sues Dr. N. Obi, Medical Director Soulous,
Nurse Paula Castillo, and Correctional Medical Services(CMS).
Ferguson states that he suffers from degenerative disc disease. He
alleges that defendant Castillo refused to give him his prescribed
medication on December 18, 2003. He contends that Castillo charged
him with disciplinary offenses of malingering and showing
disrespect, however, both, charges were dismissed. Unspecified
nurses allegedly slandered him in December of 2003 by calling him a
drug addict and caused his medication to be stopped.

Ferguson states that he does not receive his medication on a
regular basis, his medical request forms are ignored, and he has
developed further health problems due to “this type of neglect.” He

claims he reinjured himself because defendant CMS is too cheap to

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provide a knee or back brace. As to defendant Obi, the inmate
charges “gross neglect, indifference, and malpractice ”

Plaintiff attached to his complaint a letter from his mother
which is dated March 12, 2004, addressed “to whom it may concern”
providing a history of his health problems. He alleges that he sent
a grievance form to the “Director of Grievances” but “received no
response.” Ferguson attached copies of two handwritten grievances
dated April 18, 2003, and June 10, 2003, however those grievances do
not pertain to the allegations in this complaint.

The Sixth Circuit has held that 42 U S.C. § 1997e(a) requires
a federal court to dismiss a prison conditions clainl without

prejudice whenever a prisoner has not demonstrated that he has

exhausted his administrative remedies. Brown v. Toombs, 139 F.Bd
1102, 1104 (6th Cir. 1998). This requirement places an affirmative

burden on prisoners of pleading particular facts demonstrating the
complete exhaustion of claims. Knuckles El v. Toombs, 215 F.Bd 640,
642 (6th Cir. 2000).
In order to comply with the mandates of 42 U.S.C. § 1997e{a),
a prisoner must plead his claims with specificity and show
that they have been exhausted by attaching a copy of the
applicable administrative dispositions to the complaint
or, in the absence of written documentation, describe with
specificity'the administrative proceeding and its outcome.
Knuckles El, 215 F.3d at 642; see also Baxter v. Rose, 305 F.3d 486
(6th Cir. 2002)(prisoner who fails to adequately allege exhaustion

may not amend his complaint to avoid a sua sponte dismissal); Curry

v. Scott, 249 F.3d 493, 503-04 (6th Cir. 2001)(no abuse of

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discretion for district court to dismiss for failure to exhaust when
plaintiffs did not submit documents showing complete exhaustion of
their claims or otherwise demonstrate exhaustion). Furthermorer §
1997(e) requires the prisoner to exhaust his administrative remedies
prior‘ to filing suit and, therefore, he cannot exhaust these
remedies during the pendency of the action. Freeman v. Francis, 196
F.Bd 64l, 645 (Gth Cir. l999).

This complaint is fully within the scope of § 1997e and
Ferguson's allegations are clearly' insufficient to satisfy' the
exhaustion requirements of § 1997e(e).2 The Sixth Circuit has held
that "[a] plaintiff who fails to allege exhaustion of administrative
remedies through ‘particularized averments' does not state a claim
on which relief may be granted, and his complaint must be dismissed
sua sponte." Baxter, 305 F.3d at 489. As plaintiff has not
exhausted his administrative remedies, the Court dismisses this
complaint without prejudice under 42 U.S.C. § 1997e(a}.

III. Appeal lssues

The next issue to be addressed is whether plaintiff should be
allowed to appeal this decision ip fpipp ppppppi§. Twenty~eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken ip

forma pauperis if the trial court certifies in writing that it is

 

2 An inmate can exhaust administrative remedies in two ways. He might

file the grievance and then appeal it through all administrative levels made
available by the particular institution or government agency. Alternatively, he
might attempt in good faith to follow the procedure and demonstrate that the
institution or agency has completely frustrated the procedure and rendered further
exhaustion efforts futile.

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not taken in good faith. The good faith standard is an objective
one. Coppedge v. United States, 369 U.S. 438, 445 (1962). Under

Brown v. Toombs, an appellate court must dismiss a complaint if a

 

prisoner has failed to comply with 1997e's exhaustion requirements.

Accordingly, if a district court determines that a complaint
must be dismissed as unexhausted, plaintiff would not yet be able to
present an issue in good faith on appeal because that appeal would
also be subject to immediate dismissal. Thus, the same
considerations that lead the Court to dismiss this case for failure
to exhaust administrative remedies compel the conclusion that an
appeal would not be taken in good faith.

It is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3),
that any appeal in this matter by plaintiff is not taken in good
faith, and plaintiff may not proceed on appeal ip ipppp ppppeiip.

The final matter to be addressed is the assessment of a filing
fee if plaintiff appeals the dismissal of this case. The United
States Court of Appeals for the Sixth Circuit has held that a
certification that an appeal is not taken in good faith does not

affect an indigent prisoner plaintiff's ability to take advantage of

the installment procedures contained, in § 1915(b). McGore v.
Wrigglesworth, 114 F.Bd 601, 610-11 (6th Cir. 1997). McGore sets

out specific procedures for implementing the PLRA.
Therefore, the plaintiff is instructed that if he wishes to

take advantage of the installment procedures for paying the

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appellate filing fee, he must comply with the procedures set out in

McGore and § 1915(b).

IT rs so oRDERED this /l\` day iy, 2005.

 

. ANIEL BREEN
I ED S'I`ATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02991 Was distributed by fax, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

David Ferguson

SHELBY COUNTY CORRECTIONAL COl\/IPLEX
12554

1045 Mullins Station Rd.

l\/lemphis7 TN 38134

Honorable J. Breen
US DISTRICT COURT

